IN THE UNITED STATES I)ISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
A'I` GREENEVILLE

JEANNETTE T. RYANS and SHIRLEY
CASTLE,
Plaintiffs,
No.
vs. JURY DEMAND

ALLSTATE PROPERTY AND CASUALTY
INSURANCE COMPANYJ

******-X-*~K-I~*

Defcndant.

NOTICE OF REMOVAL

The above-named Defendant, Allstate Property and Casualty Insurance Cornpany
(“Allstate”), pursuant to 28 U.S.C. § 1441, e_t Lq. for its Notice of Removal of an action
instituted by the above-named Plaintiffs against it as Defendant, shows unto the Court:

l. Plaintiffs are citizens and residents of Sullivan County, Kingsport, Tenncssee ,
and so plead in their Cornplaint. Plaintiffs own property in Sullivan County, Tennessee and so
plead in their Complaint.

2. Defendant Allstate at all times pertinent to this cause of action was a foreign
corporation incorporated in the State of Illinois. Allstate was not on July 4, 2014 or on August 4,
2014, or any time before or after said date, up to and including the date this action Was filed in
the Chancery Court for Sullivan County at Kingsport, Tennessee, or on the date of the filing of
this Notice of Rernoval, incorporated under the corporate statutes or other applicable law of the
State of Tennessee, and has not at any time prior to or subsequent to and including the date of the

filing of this Notice of Removal, had its principal places of business in Tennessee.

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3. The citizenship of the respective parties Was the same as herein alleged at the time
of the commencement of this action in the Chancery Court for Sullivan County at Kingsport,
Tennessee, and on the date of the filing of this Notice of Removal.

4. On July 2, 2015, Plaintiffs instituted an action against Defendant in the Chancery
Court for Sulliva_n County at Kingsport, Tennessee, by filing in said Court a Summons for the
said Defendant and, at the initial pleading, a Complaint seeking judgment from Allstate proceeds
of an insurance policy for alleged coverage(s) under the insurance policy, in an amount of
3250,000.00 plus a statutory 25% Bad Faith penalty and attorneys’ fees as a result of alleged
events occurring on or about July 4, 2014 and August 4, 2014, when Plaintiffs allegedly
sustained damages (Complaint, Ex. A.)

5. The Surnmons and Complaint issuing from the Clerk’s Office of the Chancery
Court for Sullivan County at Kingsport, Tennessee, was served on the Defendant through the
Tennessee Department of Comrnerce ot`Insurance on or about July 13, 2015.

6. Less than thirty (30) days have transpired since service of the suit to the
Defendant, up to and including the date of the filing of this Notice of Removal.

7. Defendant files with its Notice of Removal copies of all process, pleadings and
other papers served upon it in the state action, to wit:

(a) Complaint filed July 2, 2015; and
(b) CT Corporation; Service of Process Instant Notification
dated July 13, 2015. (Ex. B.)

8. The amount in controversy in said action herein referred to exceeds the sum of

Seventy-five Thousand Dollars ($75,000.00), exclusive of interest and costs as demonstrated by

the Complaint

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WHEREFORE, Defendant Allstate Property and Casualty lnsurance Company prays

that this Court accept this Notice of Removal and proceed With this action in accordance with

law.

DATED this the zs‘h day OrJuly, 2015.

Respectfully submitted,

ALLSTATE PROPERTY AND
AND CASUALTY INSURANCE
COMPANY

By: s/Suzanne S. Cook
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